     Case 4:19-cr-00017-LGW-CLR Document 46 Filed 03/04/19 Page 1 of 1


                                                                                 f;fl! !■;
                                                                                 nw'
                IN THE UNITED STATES DISTRICT COURT FOR                     - •nui .-.
                   THE SOUTHERN DISTRICT OF GEORGIA^;: ;5-                    ptj
                                SAVANNAH    DIVISION


UNITED    STATES   OF AMERICA,


V.                                                   Case   No.   CR419-17


EDDIE ROBERTSON,


                   Defendant.




      D. Campbell Bowman, Jr. counsel of record for defendant Eddie

Robertson in the above-styled case has moved for leave of absence.

The Court   is mindful      that personal and professional obligations

require   the   absence of      counsel    on occasion.     The Court,    however,

cannot accommodate its schedule to the thousands of attorneys who

practice within the Southern District of Georgia.

      Counsel may be absent at the times requested. However, nothing

shall prevent      the   case       from going   forward;   all   discovery shall

proceed, status conferences, pretrial conferences, and                   trial shall

not be interrupted or delayed. It is the affirmative obligation of

counsel to provide a fitting substitute.



      SO ORDERED this           /      day of March 2019.




                                         WILLIAM T.    MOOREr JR.,       JUDGE
                                         UNITED   STATES    DISTRICT     COURT
                                         SOUTHERN DISTRICT        OF   GEORGIA
